Case 5:19-cv-00487-LCB Document 1 Filed 03/26/19 Page 1 of 10            FILED
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Case 5:19-cv-00487-LCB Document 1 Filed 03/26/19 Page 2 of 10
Case 5:19-cv-00487-LCB Document 1 Filed 03/26/19 Page 3 of 10
Case 5:19-cv-00487-LCB Document 1 Filed 03/26/19 Page 4 of 10
Case 5:19-cv-00487-LCB Document 1 Filed 03/26/19 Page 5 of 10
Case 5:19-cv-00487-LCB Document 1 Filed 03/26/19 Page 6 of 10
Case 5:19-cv-00487-LCB Document 1 Filed 03/26/19 Page 7 of 10
Case 5:19-cv-00487-LCB Document 1 Filed 03/26/19 Page 8 of 10
Case 5:19-cv-00487-LCB Document 1 Filed 03/26/19 Page 9 of 10
Case 5:19-cv-00487-LCB Document 1 Filed 03/26/19 Page 10 of 10
